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 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                            2:20-cr-00181-JAM-2
12                                  Plaintiff,
                                                          PRELIMINARY ORDER OF
13          v.                                            FORFEITURE
14   NANCY DALILA GARCIA ESCOBAR,
15                                  Defendant.
16

17          Based upon the plea agreement entered into between plaintiff United States of America and

18 defendant Nancy Dalila Garcia Escobar, it is hereby ORDERED, ADJUDGED AND DECREED as

19 follows:

20          1.      Pursuant to 21 U.S.C. § 853(a), defendant Nancy Dalila Garcia Escobar’s interest in the

21 following property shall be condemned and forfeited to the United States of America, to be disposed of

22 according to law:

23                  a.      Real property located at 7158 S Camino Secreto, Tucson, Arizona, Pima County,
                            APN: XXX-XX-XXXX, and
24                  b.      Approximately $17,858.00 in U.S. Currency.
25          2.      The above-listed property constitutes or is derived from proceeds obtained, directly or

26 indirectly, as a result of violations of 21 U.S.C. §§ 841(a)(1) and 846.

27          3.      Pursuant to Rule 32.2(b)(3), the Attorney General (or a designee) shall be authorized to

28 seize the above-listed property. The aforementioned property shall be seized and held by the U.S.
                                                      1                             Preliminary Order of Forfeiture
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 1 Marshals Service, in its secure custody and control.

 2          4.      a.       Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United States shall publish

 3 notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s (or a

 4 designee’s) intent to dispose of the property in such manner as the Attorney General may direct shall be

 5 posted for at least 30 consecutive days on the official internet government forfeiture site

 6 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written notice to

 7 any person known to have alleged an interest in the property that is the subject of the order of forfeiture as

 8 a substitute for published notice as to those persons so notified.

 9                  b.       This notice shall state that any person, other than the defendant, asserting a legal

10 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

11 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

12 within thirty (30) days from the receipt of direct written notice, whichever is earlier.

13          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

14 will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all interests will be

15 addressed.

16          SO ORDERED.

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      Dated: June 28, 2024                            /s/ John A. Mendez
18                                                    THE HONORABLE JOHN A. MENDEZ
19                                                    SENIOR UNITED STATES DISTRICT JUDGE

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                                                            2                               Preliminary Order of Forfeiture
